          Case 5:19-mj-00333-STE Document 2 Filed 06/21/19 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )   CASE NUMBER: M-19-333-STE
                                               )
JAMES CHRISTOPHER BENVIE,                      )
                                               )
       Defendant.                              )

                               ENTRY OF APPEARANCE

To the Clerk of this Court and all parties of record:

       Enter my appearance as counsel in this case for Defendant, James Christopher Benvie.

       I certify that I am admitted to practice in this court and am registered to file documents

electronically with this Court.



 June 21, 2019                              s/ William P. Earley
                                            WILLIAM P. EARLEY
                                            ASSISTANT FEDERAL PUBLIC DEFENDER
                                            Oklahoma Bar Number: 11293
                                            FEDERAL PUBLIC DEFENDER ORGANIZATION
                                            WESTERN DISTRICT OF OKLAHOMA
                                            215 Dean A. McGee Suite 109
                                            Oklahoma City, Oklahoma 73102
                                            Telephone: 405-609-5930
                                            Telefacsimile: 405-609-5932
                                            Electronic Mail: William_Earley@fd.org
                                            Counsel for Defendant
          Case 5:19-mj-00333-STE Document 2 Filed 06/21/19 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2019, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the electronic
records currently on file, the Clerk of Court will transmit a Notice of Electronic filing to the
David Petermann, Assistant United States Attorney.


                                             s/ William P. Earley
                                            WILLIAM P. EARLEY




                                               2
